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                       Exhibit 4
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                                           #:1733

Grant McArthur

From:                          Randall Garteiser <rgarteiser@ghiplaw.com>
Sent:                          Thursday, April 19, 2018 2:32 PM
To:                            Steve Basileo
Cc:                            Christopher Honea (chonea@ghiplaw.com); Kirk Anderson (kanderson@ghiplaw.com);
                               bluespike@ghiplaw.com; Adrian Pruetz; Rex Hwang; Thomas Burke; Dan Liu; Guy Rodgers
Subject:                       Re: Blue Spike LLC v. VIZIO Inc., Case No. 8:17-cv-1172-DOC-KES



are you going to be able to discuss the lack of production of source code for the accused products?


                                      Randall Garteiser              / Partner
                                      888.908.4400 x100 / rgarteiser@ghiplaw.com
                                      119 W Ferguson, Tyler, TX 75702
                                      795 Folsom St, Floor 1, San Francisco, CA 94107-4226
                                      http://www.ghiplaw.com

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            On Apr 19, 2018, at 4:14 PM, Steve Basileo <sbasileo@glaserweil.com> wrote:

            Randall:
             
            The record will reflect that we have been requesting a meet and confer with you regarding Blue Spike’s 
            discovery responses for at least six weeks.  And we have proposed multiple meet and confer times that 
            you have simply ignored, including two different times last week. 
             
            In any event, we are available to meet and confer tomorrow, April 19, at 5 pm central time.  Please 
            confirm that you will be available at that time, and will be prepared to discuss the numerous issues we 
            have raised in our various meet and confer letters regarding Blue Spikes deficiencies.
             
            Best regards,
            Steve
             
                                                                                         1
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                                 #:1734
 
From: Randall Garteiser [mailto:rgarteiser@ghiplaw.com]  
Sent: Wednesday, April 18, 2018 2:07 PM 
To: Guy Rodgers <grodgers@glaserweil.com> 
Cc: Christopher Honea (chonea@ghiplaw.com) <chonea@ghiplaw.com>; Kirk Anderson 
(kanderson@ghiplaw.com) <kanderson@ghiplaw.com>; bluespike@ghiplaw.com; Adrian Pruetz 
<apruetz@glaserweil.com>; Rex Hwang <rhwang@glaserweil.com>; Thomas Burke 
<tburke@glaserweil.com>; Steve Basileo <sbasileo@glaserweil.com>; Dan Liu <dliu@glaserweil.com> 
Subject: Re: Blue Spike LLC v. VIZIO Inc., Case No. 8:17‐cv‐1172‐DOC‐KES

We’ve attempted to meet and confer with Vizio for about 3 weeks now about production of its
source code for inspection. We have not received a reason why VIzio is not going to provide.
Please let us know a date and time this week between April 19 and April 23 from 2 pm to 6 pm
Central time to meet and confer pursuant to L.R. 37-1. We note that given the multiple
documented times Blue Spike has attempted to meet and confer, Vizio’s continued refusal to
meet and confer will be noted to the Court as we move to compel as Vizio continues its
discovery abuses now into C.D. Cal. that it is already been found guilty of doing by Chief Judge
Stark in the District of Delaware.

Time is of the essence. If 2-6 pm Central on those days does not work, please provide an
alternative date.

We note again the Vizio continues to not provide a reason for its denial of financial information
related to the accused products and its source code. Given Vizio’s documented history of
discovery abuse, we are left with the assumption that it is strategic in this case with a short
discovery window.

Similarly, we have not received revised potential dates of Vizio’s deposition. This is yet another
communication to have Vizio provide one or two potential dates so the parties can amend the
deposition notice. We area agreeable to taking the depositions in Vizio, and request that they be
done on a one week with marketing one day, accused functionality another day, financial
information a different day and any factual witnesses to defend allegations on willfulness a
separate day.


Vizio laboring the Chief Judge of Delaware with a discovery order, when that is the busiest
docket in the country right now post TC Heartland sends a strong message that Blue Spike is not
left with any choice but to seek the assistance of the Court as it has thought it would have to do
from the beginning.

Please be advised that the letter you served today (below) is now attempting to attack the detail
provided on Blue Spike’s infringement contentions. It’s been over 2 months since Blue Spike
served Vizio with detailed claim charts to Vizio. So this latest communication seems to be
another transparent pre-text to attempt to delay production of source code for the accused
products. We want all the source code for the latest version and if you don’t provide that we will
move to compel. Then, we will supplement our infringement contentions or drop claims as
we’ve explained to you about a year ago. However, trying to abuse Blue Spike’s attempts to
avoid Court involvement while trying to run the clock on discovery is not a courtesy that should
be done or even attempted to fellow members of the bar and officers of the Court.

Time is of the essence.
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ORAL ORDER: Having reviewed Plaintiff Wi-LAN, Defendant Vizio, and third party
Hulu's respective letters relating to discovery disputes (D.I. 196, 200, 201, 202), IT IS
HEREBY ORDERED that Plaintiff's request that the Court compel Vizio to provide
complete responses to all of the interrogatories that Plaintiff has previously served as
well as additional interrogatories that Plaintiff may subsequently serve (nos. 9-15) is
GRANTED. Plaintiff has the right to obtain the factual basis for each of Vizio's
affirmative defenses beyond the bare assertions of them in Vizio's responsive pleading.
Interrogatories are necessary to advance the orderly pretrial development of the case
and prohibiting Plaintiff from benefiting from this discovery mechanism would be unfairly
prejudicial to Plaintiff and disrupt the Court's management of the case (in which
discovery remains open). These conclusions are equally warranted regardless of
whether Interrogatory No. 1 is viewed as a single interrogatory or multiple
interrogatories. The teleconference this afternoon will consider only the remaining
dispute - whether Vizio must produce an unredacted version of an agreement. Hulu is
invited to participate in the call. ORDERED by Judge Leonard P. Stark on 4/13/18. (ntl)
(Entered: 04/13/2018)




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                                      795 Folsom St, Floor 1, San Francisco, CA 94107-4226
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       On Apr 18, 2018, at 1:14 AM, Guy Rodgers <grodgers@glaserweil.com> wrote:

      Counsel,
       
      Please see the attached correspondence.
       
      Thank you,
      Guy
       
      <image005.jpg>
       

      Guy M. Rodgers | Attorney                                                               
       10250 Constellation Blvd., 19th Floor, Los Angeles, CA 90067                          <image003.png>
       Main: 310.553.3000 | Direct: 310.282.6208| Fax: 310.785.3508                           


       Email: grodgers@glaserweil.com | www.glaserweil.com | bio                             <image004.jpg>
       
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      <2018-04-17 Letter to R Garteiser re Blue Spike Rog Responses.pdf>




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